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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

          v.                                           19-cr-10081-IT
 GORDON ERNST, et al.,

          Defendant.


      ASSENTED-TO MOTION OF DEFENDANT JORGE SALCEDO FOR
LEAVE TO EXCEED PAGE LIMIT FOR HIS MEMORANDUM IN SUPPORT OF HIS
MOTION FOR ISSUANCE OF PRE-TRIAL SUBPOENAS PURSUANT TO RULE 17(c)

         Pursuant to Local Rule 7.1(b)(4), defendant Jorge Salcedo respectfully requests leave to exceed

the page limit for his Memorandum in Support of His Motion for Issuance of Pre-Trial Subpoenas

Pursuant to Rule 17(c). As grounds for this motion, Mr. Salcedo states:

         1.       Early next week, Mr. Salcedo will file a motion seeking issuance of pre-trial subpoenas

to UCLA and the University of California Board of Regents pursuant to Fed. R. Crim. P. 17(c).

         2.       Rather than submit a memorandum in support of each requested subpoena, Mr.

Salcedo intends to file one legal memorandum in support of both subpoenas.

         3.       Given the factual and legal complexities of this case and the issues accompanying the

Rule 17(c) requests, Mr. Salcedo seeks leave to issue one combined memorandum not to exceed 35

pages.

         4.       Counsel for Mr. Salcedo has conferred with the Government, which assents to this

motion.

                                                CONCLUSION

         For these reasons, Mr. Salcedo respectfully requests that this Court allow its motion for leave

to file a supporting memorandum not to exceed 35 pages.
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DATE: January 10, 2020                             Respectfully submitted,

                                                   JORGE SALCEDO,

                                                   By his attorneys,

                                                   /s/ Thomas C. Frongillo
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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

        I hereby certify that, pursuant to Local Rule 7.1(a)(2), counsel for Mr. Salcedo conferred with
counsel for the United States regarding this motion, and Assistant United States Attorney Eric Rosen
informed me that the United States has no objection to Mr. Salcedo’s request for excess pages and
assents to the filing of this motion.

                                               /s/ Thomas C. Frongillo
                                               Thomas C. Frongillo


                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing.

                                               /s/ Thomas C. Frongillo
                                               Thomas C. Frongillo




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